        Case: 1:14-cv-03274 Document #: 30
                                        26 Filed: 11/13/14
                                                  10/20/14 Page 1 of 41 PageID #:338
                                                                               #:107

    FILE D
       /2014
       11/13
   THOMAS G       . BRUTON    T
     , U .S . D IS TRICT COUR
CLERK
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 2 of 41 PageID #:339
                                                                       #:108
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 3 of 41 PageID #:340
                                                                       #:109
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 4 of 41 PageID #:341
                                                                       #:110
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 5 of 41 PageID #:342
                                                                       #:111
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 6 of 41 PageID #:343
                                                                       #:112
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 7 of 41 PageID #:344
                                                                       #:113
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 8 of 41 PageID #:345
                                                                       #:114
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 9 of 41 PageID #:346
                                                                       #:115
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 10 of 41 PageID #:347
                                                                        #:116
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 11 of 41 PageID #:348
                                                                        #:117
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 12 of 41 PageID #:349
                                                                        #:118
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 13 of 41 PageID #:350
                                                                        #:119
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 14 of 41 PageID #:351
                                                                        #:120
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 15 of 41 PageID #:352
                                                                        #:121
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 16 of 41 PageID #:353
                                                                        #:122
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 17 of 41 PageID #:354
                                                                        #:123
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 18 of 41 PageID #:355
                                                                        #:124
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 19 of 41 PageID #:356
                                                                        #:125
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 20 of 41 PageID #:357
                                                                        #:126
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 21 of 41 PageID #:358
                                                                        #:127
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 22 of 41 PageID #:359
                                                                        #:128
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 23 of 41 PageID #:360
                                                                        #:129
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 24 of 41 PageID #:361
                                                                        #:130
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 25 of 41 PageID #:362
                                                                        #:131
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 26 of 41 PageID #:363
                                                                        #:132
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 27 of 41 PageID #:364
                                                                        #:133
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 28 of 41 PageID #:365
                                                                        #:134
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 29 of 41 PageID #:366
                                                                        #:135
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 30 of 41 PageID #:367
                                                                        #:136
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 31 of 41 PageID #:368
                                                                        #:137
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 32 of 41 PageID #:369
                                                                        #:138
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 33 of 41 PageID #:370
                                                                        #:139
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 34 of 41 PageID #:371
                                                                        #:140
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 35 of 41 PageID #:372
                                                                        #:141
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 36 of 41 PageID #:373
                                                                        #:142
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 37 of 41 PageID #:374
                                                                        #:143
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 38 of 41 PageID #:375
                                                                        #:144
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 39 of 41 PageID #:376
                                                                        #:145
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 40 of 41 PageID #:377
                                                                        #:146
Case: 1:14-cv-03274 Document #: 30
                                26 Filed: 11/13/14
                                          10/20/14 Page 41 of 41 PageID #:378
                                                                        #:147
